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Attorneys for Plaintiff


     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO




Ace Chavez,

      Plaintiff

v.                                                    Case No. 1:21-CV-00264-REP

United States of America, Community                   STIPULATION TO EXTEND
Health Clinics, Inc. d/b/a Terry Reilly               DEADLINES
Health Services d/b/a Terry Reilly –
Nampa 1st Street Clinic, Lisa Lawrence,
N.P., and John/Jane Does I through X,
whose true identities are presently
unknown,

      Defendants


       COMES NOW the parties, Plaintiff, Ace Chavez, by and through his attorney of record,

Jason R.N. Monteleone of the law firm of Johnson & Monteleone, L.L.P., and Defendant, United

States of America, by and through its attorneys of record, Joanne Rodriguez, of the United States

Attorney’s Office for the District of Idaho and hereby agree and stipulate to extend the deadlines

relative to Scheduling Order Track: (Standard) (Dkt. 20), as follows:

       1.         Fact Discovery: All fact discovery is extended to October 15, 2022; and

       2.         Expert Discovery: All expert discovery is extended to January 15, 2023.




STIPULATION TO EXTEND DEADLINES - 1
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      DATED: This 18th day of January, 2022.

      JOHNSON & MONTELEONE, L.L.P.

      /s/ Jason R.N. Monteleone__________
      Jason R.N. Monteleone
      Attorneys for Plaintiff

      DATED: This 18th day of January, 2022.

      UNITED STATES ATTORNEY’S OFFICE

      /s/ Joanne Rodriguez_______________
      Joanne Rodriguez
      Attorneys for Defendant




STIPULATION TO EXTEND DEADLINES - 2
